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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
BILLINGS DIVISION

 

CHARLES M. BUTLER, III and
CHOLE BUTLER,

Plaintiffs,
Vv.

UNIFIED LIFE INSURANCE
COMPANY, HEALTH PLANS
INTERMEDIARIES HOLDINGS, LLC,
D/B/A HEALTH INSURANCE
INNOVATIONS, HEALTH
INSURANCE INNOVATIONS, INC.,
ALLIED NATIONAL, INC.,
NATIONAL BROKERS OF
AMERICA, INC., THE NATIONAL
CONGRESS OF EMPLOYERS, INC.,
and DOES 1-10,

Defendants.

 

Cause No. CV-17-50-SPW-TJC

ORDER GRANTING
JOINT MOTION FOR APPROVAL
OF FINAL CLASS NOTICE
LANGUAGE

 

Plaintiffs and Defendants Unified Life Insurance Company jointly move for

approval of the final language of the mail and publication notices reading the class

action claim in this matter (Doc. 290). The proposed notices are attached to the

joint motion as Exhibits 1 and 2. The Court notes that counsel for all parties have

been contacted and the motion is not opposed, except that third-party defendant

MultiPlan opposes mention of Data iSight by name in the notice. The Court also
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notes the notices are the same as those already approved by the Court with some
additional detail and minor changes agreed upon by Plaintiffs and Unified,
including the mention of Data iSight. Therefore,

IT IS HEREBY ORDERED that the Court finds the submitted final notice
accurately reflects the class definition in this Court’s certification order (Doc. 274).
Without further objection, the motion is GRANTED, and the notices are approved
for mailing and publication.

The Clerk of Court is directed to notify the parties of the making of this
Order.

DATED this Lt day of May, 2020.

J 0. thet.

“SUSAN P. WATTERS
United States District Judge
